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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )      Criminal No. 18-292
                                             )
ROBERT BOWERS                                )




                                     ORDER OF COURT

       AND NOW, this 13th day of October, 2022, upon consideration of Defendant’s Motion for

Independent and Protected Defense Access to and Testing of DNA Evidence, Firearms and

Toolmarks Evidence, and Latent Print Evidence (ECF No. 767), and for the reasons set forth in

this Court’s Memorandum Opinion of the same date, it is hereby ORDERED that the Motion is

granted. As discussed in the following paragraph, the Government shall coordinate with Defense

Counsel for delivery of the evidence described in the Motion: DNA related items identified in an

FBI laboratory report found at GOVT_18292_004106 et seq.; firearms/toolmarks items identified

in an FBI laboratory report found at GOVT_18292_005074 et seq; and the requested fingerprint

item identified at 1B194. Subject to the following paragraph and the Court’s holdings in its

Memorandum Opinion, these items will be provided for non-destructive, independent testing. The

examination and testing by Defense-retained experts shall remain confidential unless and until the

Defense provides notice of the intent to use the results. Given that the deadline for Defendant to

comply with all remaining guilt-phase discovery and inspection obligations required by Rule 16(b)

of the Federal Rules of Criminal Procedure is October 25, 2022, the Court anticipates that

Defendant shall provide such notice within twenty-one (21) days of the completion of the testing

permitted by way of this Order.
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       The parties are hereby directed to confer forthwith to discuss the mechanics of the exchange

of the evidence at issue and any chain of custody issues. To the extent that the parties believe any

matter discussed in this Court’s Memorandum Opinion is not covered by an existing protective

order, the parties may, either jointly or individually, submit a proposed protective order for this

Court’s consideration within seven (7) days of this Court’s Order. To the extent that any proposed

protective order is opposed, the party opposing the protective order is hereby directed to file a

response to the proposed protective order within five (5) days of the filing of the proposed

protective order. The Court further encourages the parties to discuss whether any agreement can

be reached as to the mechanics of exchange or testing that may streamline the process. While the

Court will not require the parties to reach such an accord, it may be in the parties’ and efficiency’s

best interests to discuss the same with the benefit of the Court’s holdings in this Court’s

Memorandum Opinion.




                                                              BY THE COURT:

                                                              /s/Robert J. Colville______
                                                              Robert J. Colville
                                                              United States District Judge



cc: All counsel of record
